     Case 4:22-md-03047-YGR            Document 1803         Filed 03/28/25       Page 1 of 12




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                           Case Nos.: 4:22-md-03047-YGR-PHK

                                                        JOINT    LETTER   BRIEF  RE
                                                        YOUTUBE’S AMENDED RULE 26(A)
                                                        INITIAL DISCLOSURES
This Filing Relates to:
                                                        Judge: Hon. Yvonne Gonzalez Rogers
All Actions                                             Magistrate Judge: Hon. Peter H. Kang




Dear Judge Kang:

         Pursuant to the Court’s Standing Order for Discovery in Civil Cases, the PI/SD Plaintiffs
(“Plaintiffs”) and Defendants Google, LLC and YouTube, LLC (“YouTube”) respectfully submit
this letter brief regarding a dispute as to whether YouTube is required to produce the custodial
files of two witnesses that YouTube identified for the first time on February 7, 2025 in its Amended
Rule 26(a) Initial Disclosures. The parties also dispute Plaintiffs’ request for leave to depose these
witnesses in the event YouTube seeks to rely upon them in any expert report, during motion
practice, or at trial.

        Pursuant to that Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that
they met and conferred by video conference before filing this brief. The final conferral was on
March 21, 2025, and was attended by lead trial counsel for the Parties involved in the dispute.
Lead trial counsel have concluded that no agreement or negotiated resolution can be reached.


Dated: March 28, 2025
                                                Respectfully submitted,

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Case 4:22-md-03047-YGR   Document 1803    Filed 03/28/25        Page 2 of 12



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Case 4:22-md-03047-YGR   Document 1803    Filed 03/28/25    Page 3 of 12



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Case 4:22-md-03047-YGR   Document 1803    Filed 03/28/25    Page 4 of 12




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Case 4:22-md-03047-YGR   Document 1803    Filed 03/28/25    Page 6 of 12




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    Case 4:22-md-03047-YGR           Document 1803        Filed 03/28/25     Page 7 of 12



                                      ATTESTATION
       I, Audrey Siegel, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1(i)(3), that the

concurrence to the filing of this document has been obtained from each signatory hereto.


Dated: March 28, 2025
                                                    By: /s/ Audrey Siegel
                                                            Audrey Siegel
       Case 4:22-md-03047-YGR               Document 1803           Filed 03/28/25   Page 8 of 12



                                        PLAINTIFFS’ POSITION

        “The theory of disclosure under the Federal Rules of Civil Procedure is to encourage parties
to try cases on the merits, not by surprise, and not by ambush.” Ollier v. Sweetwater Union High
Sch. Dist., 768 F.3d 843, 862 (9th Cir. 2014). “Orderly procedure requires timely disclosure” so
that the parties may cogently plan and execute discovery in preparation for trial. Id. The late
disclosure of witnesses “throws a wrench” into pre-trial discovery. Id. “
        Here, YouTube and Google (“YouTube”) are trying to throw that “wrench” into the process
by (1) adding two witnesses (Jennifer O’Connor and K.K.) to their Rule 26(a) Initial Disclosures
a year after such disclosures were due and (2) refusing to produce their custodial files. Although
the Court could preclude these two late witnesses, Plaintiffs instead seek an order compelling
YouTube to produce their custodial files—as was done for each witness YouTube timely identified
in February 2024—and allowing Plaintiffs leave to take their depositions if and when YouTube or
its experts seek to rely on them in any forthcoming reports, motion practice, or trial with respect
to any PISD claim.
        On February 22, 2024, YouTube disclosed just six witnesses in its Rule 26(a) Initial
Disclosures. YouTube did not include Ms. O’Connor or K.K. In April 2024, YouTube identified
those same six witnesses, plus fourteen more, as YouTube’s proffered custodians. Again, YouTube
did not include Ms. O’Connor or K.K. As a result, in negotiating over custodians, Plaintiffs had
no reason to expect that YouTube would use Ms. O’Connor or K.K. to support its defenses.
        It was not until February 7, 2025 that YouTube served Amended Initial Disclosures adding
Ms. O’Connor and K.K. as individuals YouTube would seek to use to support its defenses with
respect to (unspecified) aspects of “product development,” “youth safety,” and “YouTube
learning.” By that time, the early November substantial completion deadline had passed and the
parties were in the thick of depositions—including of five of the six individuals YouTube had
timely disclosed in February 2024. 1 Yet, YouTube offered no explanation for its late additions of
Ms. O’Connor and K.K.
        Plaintiffs commenced a meet and confer by email on February 24, 2025—asking YouTube
to explain the late additions and to produce the custodial files. YouTube responded that
(1) Plaintiffs were not entitled to the custodial files and (2) the amendments were due to its
“ongoing” investigation. Thus, the parties were at impasse. When Plaintiffs asked the next day
(February 25) to schedule an H2 conference, YouTube ignored the request. Plaintiffs followed up
on March 5. YouTube refused to set an H2 and, incredibly, demanded that Plaintiffs provide a
basis for seeking custodial files from the two witnesses YouTube had belatedly identified.
        YouTube continued the gamesmanship for more than a week—preventing the dispute from
being presented at the March conference. Despite the parties’ impasse, YouTube insisted the
parties schedule a meet and confer call. During a short call on March 17, YouTube’s only new
addition to the discussion was to ask whether Plaintiffs would accept less than a complete custodial
production for Ms. O’Connor and K.K. Plaintiffs said they were open to a proposal—but then it
turned out YouTube did not have one to offer on the call. Days went by with no offer from
YouTube. Finally, on March 21, 2025, YouTube participated in an H2 conference, in which it
again made no proposal to produce the custodial files. Whether YouTube ever intended to actually


1
    Plaintiffs also deposed the sixth individual (Adi Jain) under Rule 30(b)(6).
     Case 4:22-md-03047-YGR                Document 1803           Filed 03/28/25        Page 9 of 12




offer any compromise or was simply playing for time, the fact is that the parties are at the exact
same impasse they had reached on February 24, 2025.
        Courts looking at similarly late disclosures focus principally on two issues.
        First, whether there is any reasonable justification for the late disclosure. The mere fact
that disclosures are supplemented before the close of fact discovery does not make them “timely.” 2
YouTube has offered none beyond the entirely conclusory claim that its investigation is “ongoing.”
YouTube cannot claim that either witness—both YouTube employees—was unknown to it last
year. And YouTube cannot claim that it was unaware last year that “product development,” “youth
safety,” and “YouTube learning”—issues that lie at the heart of the PISD complaints—would be
relevant to its defenses.
        Second, even when there is a valid justification, courts ask whether the late disclosure
prejudices the opposing party. Here, the prejudice is evident. Ms. O’Connor and K.K. are not just
any two YouTube employees. They are witnesses that YouTube now says it intends to rely on to
support its defenses. Had YouTube disclosed that critical fact in February 2024 or at a reasonable
point prior to substantial completion, Plaintiffs would have demanded their custodial files in the
parties’ negotiations—as they did for each of the witnesses YouTube did disclose—so that
Plaintiffs could fairly confront the witnesses with their own documents. It is no answer for
YouTube to say that Plaintiffs could have deposed the witnesses without the custodial files. While
Plaintiffs have deposed some witnesses without custodial files, those were deponents that Plaintiffs
identified as useful to proving Plaintiffs’ case—and that Plaintiffs decided were worth deposing
despite the lack of a custodial file. By contrast, Ms. O’Connor and K.K. are not witnesses Plaintiffs
would have sought discovery of but for YouTube saying it intends to rely on them to support its
defense. As courts have recognized, that is all the difference in the world when it comes to
discovery. 3
      In sum, what YouTube seeks is trial by ambush. It was YouTube’s choice to add Ms.
O’Connor and K.K. to its Initial Disclosures. Plaintiffs simply seek fair discovery, starting with

2
  Homyk v. ChemoCentryx, 2024 WL 5150447, at *2 (N.D. Cal. Aug. 8, 2024) (“Courts in this District
have precluded parties from using witnesses disclosed even before the close of fact discovery where their
initial disclosures were not timely supplemented) (citing Vieste v. Hill Redwood Development, 2011 WL
2181200, at *3 (N.D. Cal. June 3, 2011) (precluding witnesses disclosed “two weeks before the close of
fact discovery”); Finjan v. Proofpoint, 2015 WL 9900617, at *2–3 (N.D. Cal. Oct. 26, 2015) (precluding
witnesses disclosed before the close of fact discovery); Baird v. Blackrock Institutional Trust Co., 330
F.R.D. 241, 246–48 (N.D. Cal. Feb. 27, 2019) (same); see also Johnson v. Couturier, 2009 WL 3169965,
at *1 (E.D. Cal. Sept. 28, 2009) (striking witnesses not disclosed until two months before the close of fact
discovery).
3
  “The purpose of Rule 26(a)’s initial disclosure requirement is not merely to apprise the opposing party
of the existence of individuals with relevant information, it is to tell the opposing party which individuals
the disclosing party ‘may use to support its claims or defenses.’ Fed. R. Civ. P. 26(a)(1)(A)(i). The fact
that a party has identified individuals as having relevant information does nothing to inform that party of
whether the opposing party may use the individuals as witnesses in the case.” Arizona Libertarian Party
v. Reagan, 2017 WL 2929459, at *3–4 (D. Ariz. July 10, 2017). See also Vieste v. Hill Redwood
Development, 2011 WL 2181200, at *3 (N.D. Cal. June 3, 2011) (untimely disclosure “was not harmless”
because it deprived the plaintiff of the ability to plan and pursue appropriate discovery); Plexxikon Inc. v.
Novartis Pharms. Corp., 2019 WL 12038882, at *3 (N.D. Cal. Sept. 9, 2019) (untimely disclosures
prejudiced plaintiff with respect to negotiations over custodians and depositions).
    Case 4:22-md-03047-YGR              Document 1803           Filed 03/28/25       Page 10 of 12




the immediate production of their custodial files and the opportunity, at Plaintiffs’ option, to
depose each of them if and when YouTube or its experts rely on either witness in future reports,
motion practice (e.g., summary judgment or Daubert), or at any trial on any PISD claim.

                                      YOUTUBE’S POSITION

On February 7, two months before the close of fact discovery on April 4, YouTube timely
amended its initial disclosures to add two individuals with knowledge relevant to Plaintiffs’ claims
and YouTube’s defenses. By early February, YouTube had already produced thousands of
documents on which those individuals appear: all produced well before the substantial completion
of document discovery in November.

Plaintiffs had two months after YouTube’s timely amendment to prepare for and take those two
witnesses’ depositions. But Plaintiffs declined to do so, and even now, they do not seek those
depositions—saying instead that perhaps they will seek to take those depositions at some time in
the future. Plaintiffs’ assertion that YouTube’s timely amendment amounts to “trial by ambush”
is meritless and completely unsupported by the cases they cite. The Court should deny Plaintiffs’
request for those two individuals’ custodial files.

Plaintiffs have no authority for their insistence that YouTube’s timely amendment entitles them to
the custodial files. And Plaintiffs have not and cannot identify any prejudice that will result to
them if they do not receive the files. Neither party will have or rely upon any documents not
produced in discovery. Plaintiffs’ failure to avail themselves of the most direct method to discover
information about what these individuals may know or testify about—deposing them—
demonstrates that they have not been prejudiced and that they are actually engaging in further
document fishing, without regard for the undue burden to YouTube during the final stages of fact
discovery.

Background

On February 7—two full months before the close of fact discovery—YouTube amended its initial
disclosures to add two individuals based on the results of its ongoing investigation: Jennifer
Flannery O’Connor for her knowledge related to product development and youth safety, and KK
for her knowledge of YouTube learning. Rule 26 requires a party to disclose the names of
individuals likely to have discoverable information and the subjects of that information that the
party may use to support its claims or defenses. This obligation is ongoing, and a party “must
supplement” its disclosures “in a timely manner if [it] learns that in some material respect the
disclosure . . . is incomplete.” Rule 26(e)(1)(A); see Looksmart Grp., Inc. v. Microsoft Corp., 386
F. Supp. 3d 1222, 1230 (N.D. Cal. 2019) (“[A]s theories mature and as the relevance of various
items of evidence changes, [discovery must] be corrected or supplemented to reflect those
changes.”); 1993 Advisory Committee Note (“[A]s the issues in the pleadings are clarified,
[parties] should supplement [their] disclosures[.]”).

That is precisely what happened here. YouTube amended its initial disclosures as the Rule
requires. 4



4
 Plaintiffs’ own conduct makes clear that two months is more than adequate time to disclose and identify
witnesses for deposition, as they requested ten new fact witnesses and served two sweeping 30(b)(6) notices
on the same day and in the days following YouTube serving its amended disclosures.
    Case 4:22-md-03047-YGR                Document 1803          Filed 03/28/25        Page 11 of 12



Plaintiffs Have Failed to Demonstrate Prejudice

Plaintiffs assert that YouTube’s failure to produce the two individuals’ custodial files is so
prejudicial as to amount to “trial by ambush,” but there is no basis for that assertion. The relevant
question is “whether the opposing party had meaningful notice to prepare its case.” V5 Techs. v.
Switch, Ltd., 334 F.R.D. 615, 617–18 (D. Nev. 2020); see also Brandon v. Mare-Bear, Inc., 225
F.3d 661 (9th Cir. 2000) (describing the Rules’ “principal goal[]” of “preventing trial by ambush
and surprise”). To be clear, YouTube has not and will not rely on any custodial documents from
these two individuals that have not already been produced to Plaintiffs. Both Plaintiffs and
YouTube are therefore in the same position: neither side will have documents relating to these two
individuals that the other side does not.

Critically, despite the fact that neither individual is a custodian, YouTube nevertheless produced
thousands of documents relating to both individuals—and did so before the deadline for substantial
completion of document discovery in early November 2024. Plaintiffs have no explanation for
why the thousands of documents they already have somehow fail to provide sufficient information
about the individuals, or what more they could not have learned from a deposition (which they did
not request).

The parties painstakingly negotiated custodians in these cases, with the final list of custodians
ultimately settled in May 2024. During that process, Plaintiffs requested the custodial files of many
people who were not on YouTube’s initial disclosures and did so by relying heavily on public
LinkedIn pages. Indeed, Plaintiffs relied so heavily on LinkedIn as the source of their proposed
custodian list that they submitted a chart of LinkedIn information to the Court in briefing the
parties’ May 2024 custodian dispute. See Dkt. Nos 848, 849 (joint letter brief regarding 27 disputed
custodians and Exhibit A, which notes that “information is obtained from individuals’ LinkedIn
Profiles”). It is too late to request the addition of more custodians when Plaintiffs have not given
a sufficient basis for doing so, particularly given that both Ms. O’Connor’s and KK’s public
LinkedIn profiles clearly describe their time at YouTube. Likewise, there is no legal basis for
demanding the custodial file of anyone on initial disclosures, and Plaintiffs have cited none.

Perhaps the best evidence showing there is no prejudice here is that Plaintiffs have never requested
the depositions of these two people, and do not ask for depositions now—unless YouTube or its
experts rely on either witness in future reports, motion practice, or at trial. If Plaintiffs actually
believed these individuals possessed important, discoverable information without which they
could not adequately prepare their cases, they would have requested depositions to ask what these
individuals may know or testify about. 5 They did not. Plaintiffs’ own decision speaks louder than
their eleventh-hour arguments.6

The cases cited by Plaintiffs do not support their claim of prejudice. In those cases, the disclosing
party amended its disclosures with little to no time left for the other party to take the depositions

5
  Plaintiffs point to the 30(b)(6) deposition of Adi Jain, who Plaintiffs never sought to depose in his
individual capacity, to suggest that they have deposed everyone in YouTube’s prior initial disclosures.
Plaintiffs are notably also deposing KK as a 30(b)(6) witness.
6
  Plaintiffs’ practices belie any claim that they need custodial files ahead of taking depositions. Throughout
this case, Plaintiffs routinely requested depositions before receiving custodial files and requested the
depositions of individuals who were never custodians at all. Indeed, Plaintiffs themselves argued recently
that depositions should be allowed to proceed in the final stretch of fact discovery because the witnesses
were not custodians and the burden would therefore be minimal. See Dkt. No. 1781 (“none of these
witnesses are custodians, lightening the burden on Meta’s counsel to prepare”). Plaintiffs have also routinely
asked witnesses in deposition about documents that they did not author and with which they are not familiar.
    Case 4:22-md-03047-YGR            Document 1803        Filed 03/28/25      Page 12 of 12



of the newly-disclosed witnesses in the discovery period. See Ollier v. Sweetwater Union High
Sch. Dist., 768 F.3d 843 (9th Cir. 2014) (defendant identified 38 new witnesses more than 15
months after the close of fact discovery); Plexxikon Inc. v. Novartis Pharms. Corp., 2019 WL
12038882, at *3 (N.D. Cal. Sept. 9, 2019) (witness disclosed six months after close of fact
discovery and after summary judgment and Daubert briefing); Vieste v. Hill Redwood
Development, 2011 WL 2181200 (N.D. Cal. June 3, 2011) (defendants disclosed six witnesses
only two weeks before the close of fact discovery); Homyk v. ChemoCentryx, 2024 WL 5150447,
at *2 (N.D. Cal. Aug. 8, 2024) (11 witnesses disclosed seven weeks before the close of fact
discovery); Finjan v. Proofpoint, 2015 WL 9900617, at *2–3 (N.D. Cal. Oct. 26, 2015) (two
witnesses disclosed just two business days before the close of fact discovery); Baird v. Blackrock
Institutional Trust Co., 330 F.R.D. 241, 246–48 (N.D. Cal. Feb. 27, 2019) (disclosing 29
individuals with only weeks left in fact discovery period). And in Arizona Libertarian Party v.
Reagan, 2017 WL 2929459, at *3–4 (D. Ariz. July 10, 2017), the court granted a motion to strike
six declarants who were never disclosed on an initial or amended Rule 26 disclosures.

Plaintiffs’ cases contrast sharply with the situation here, where (a) YouTube timely amended its
disclosures to add Ms. O’Connor and KK two months before the close of fact discovery; and (b)
Plaintiffs had thousands of documents relating to those two individuals since last November and
never requested their depositions. Plaintiffs’ insistence that their particular custodial files are
somehow essential—a position contrary to Plaintiffs’ conduct in this litigation to date—is baseless.
Throughout this entire case, Plaintiffs routinely requested the depositions of individuals who are
not custodians, as well as requested depositions before receiving custodial files.

There is only one week remaining in the fact discovery period. The parties are busy completing
depositions and will soon be turning more fully to expert discovery. It is unreasonably burdensome
to require YouTube to engage in further document collection and review at this time, particularly
when Plaintiffs have not demonstrated prejudice or a legitimate basis for requiring YouTube to do
so. The Court should deny Plaintiffs’ request.
